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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      BEAUMONT DIVISION

 U.S. BANK, NATIONAL ASSOCIATION,                         §
 AS TRUSTEE FOR ASSET BACKED                              §
 SECURITIES CORPORATION HOME                              §
 EQUITY TRUST, SERIES 2005-HE2,                           §
 ASSET BACKED PASS-THROUGH                                §
 CERTIFICATES, SERIES 2005-HE2,                           §
                                                          §
           Plaintiff,                                     §
                                                          §
 v.                                                       §             Civil Action No. 1:22-cv-00152
                                                          §
 SHEILA A. LABOVE.                                        §
                                                          §
           Defendant.                                     §

                     PLAINTIFF’S VERIFIED PETITION IN SUPPORT OF
                          RESPONSE TO SHOW CAUSE ORDER

        Plaintiff U.S. Bank, National Association, as Trustee for Asset Backed Securities

Corporation Home Equity Trust, Series 2005-HE2, Asset Backed Pass-Through Certificates,

Series 2005-HE2 (“Plaintiff” or “U.S. Bank”) files this Verified Motion to Retain asking the Court

to retain this matter on the active docket while the parties continue their attempts to amicably

resolve this dispute. In support thereof, Plaintiff respectfully shows the Court:

        1.       Plaintiff filed its Original Complaint against Defendant Sheila A. LaBove on April

13, 2022. (ECF Document No. 1).

        2.       Defendant Sheila A. LaBove was served with a copy of the Original Complaint on

May 2, 2022, at 2377 Ashley Street, Beaumont, Texas 77702. (See ECF Document No. 4).

        3.       On August 22, 2022, the Court issued the Notice of Impeding Dismissal, which

stated this matter is set for dismissal for want of prosecution on September 23, 2022. (ECF

Document No. 5).

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        4.       The parties have engaged in significant settlement discussions and a resolution may

be imminent.

        5.       Plaintiff desires, if possible, to resolve this matter amicably through a settlement

with Defendant, or in the alternative, by filing a dispositive motion. Plaintiff therefore asks the

Court to retain this case for thirty days to allow Plaintiff to complete the ongoing settlement

discussions. This Motion is not made for the purpose of delay, but rather so that justice may be

done.

                                                    PRAYER

        For these reasons, Plaintiff respectfully requests that the Court retain the case on the active

docket and for further relief to which it may be entitled.

                                                          Respectfully submitted,

                                                          By: /s/ Nicholas M. Frame
                                                             MARK D. CRONENWETT
                                                             Attorney in Charge
                                                             Texas Bar No. 00787303
                                                             mcronenwett@mwzmlaw.com

                                                              NICHOLAS M. FRAME
                                                              Of Counsel
                                                              Texas Bar No. 24093448
                                                              nframe@mwzmlaw.com

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                                                          ATTORNEYS FOR PLAINTIFF




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                            VERIFICATION OF NICHOLAS M. FRAME


        Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the following

statements are true and correct:

        1.       “My name is Nicholas M. Frame. I am over the age of 21 years and am fully

competent to make this Verification. I have personal knowledge of all the facts stated herein, and

all statements of fact contained herein are true and correct.

        2.       I am an attorney for Mackie Wolf Zientz & Mann, P.C. (“MWZM”), attorneys for

U.S. Bank, National Association, as Trustee for Asset Backed Securities Corporation Home Equity

Trust, Series 2005-HE2, Asset Backed Pass-Through Certificates, Series 2005-HE2 (“Plaintiff”)

in the above referenced suit.

        3.       I have read the foregoing Verified Petition in Support of Response to Show Cause

Order and the averments contained therein are within my personal knowledge and are true and

correct.

        FURTHER DECLARANT SAYETH NOT.

        “My name is Nicholas M. Frame; my date of birth is November 26, 1987; and my address

is 14160 N. Dallas Parkway, Suite 900, Dallas, Texas 75254 U.S.A. I declare under penalty of

perjury that the foregoing is true and correct.”

        Executed in Harris County, State of Texas, on September 21, 2022.




                                                              NICHOLAS M. FRAME




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